a

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 1 of 45 PagelD: 1

LITE DEPALMA GREENBERG & RIVAS, LLC
Joseph J. DePalma (JD-7697)
Katrina Blumenkrants (KB-9620)

Two Gateway Center, 12" Floor
Newark, New Jersey 07102 RECEIVED
973) 623-3000
(973) 623-300 MAR 2 5 2004
Attorneys for Plaintiff re M
CLERK

[Additional counsel on signature page]

UNITED STATES DISTRICT COURT

 

 

DISTRICT OF NEW JERSEY
GORDON LANCASTER, Individually andon )
behalf of all others similarly situated, ) Civil Action No. (? uf . AAS (§ i) 6,
5 ,
Plaintiff, )
) CLASS ACTION COMPLAINT
v. i ) FOR VIOLATION OF ERISA
ROYAL DUICH PETROLEUM COMPANY, ) JURY TRIAL DEMANDED
JEROEN VAN DER VEER, PIIILIP WATTS, )
and PERVIS THOMAS, JR. )
)
Defendants. )

 

Plaintiff Gordon J.ancaster, residing at 101 Bell Flower Drive, Sunset South
Carolina 29685, individually and on behalf of all other persons similarly situated (the
“Participants”), and on behalf of the Shell Provident Fund (the “Plan”), by his attorneys, alleges
the following for his Complaint:

NATURE _ OF THE ACTION
1. Plaintiff, who is a Participant in the Plan, brings this action for Plan-wide relief on

behalf of the Plan, and on behalf ofa class of all Participants in the Plan for whose individual
accounts held shares of Royal Dutch Petroleum Company (hereinafter referred to as “Royal

Dutch,” “Royal Dutch/Shell” or the “Company”) (NYSE: RD) as part of the Royal Dutch Stock

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 2 of 45 PagelD: 2

Fund investment option (the “Class”) between December 3, 1999 and January 9, 2004, inclusive
(the “Class Period”). Excluded from the Class are defendants herein, directors of Royal Dutch,
their subsidiaries, members of their immediate families, and the heirs, successors or assigns of
any of the foregoing. Defendants are the named fiduciaries of the Plan and several others who
are deemed “fiduciaries” under the broad definition of fiduciary under section 3(21)(A) of the
Employee Retirement Income Security Act of 1974 (“ERISA”), 29 U.S.C. § 1002(21)(A).
Plaintiff brings this action on behalf of the Plan and the Class pursuant to ERISA § 502(a)(2) and
(3), 29 U.S.C. § 1132(a)(2)and (3).

2. As more fully set forth below, Defendants breached their fiduciary duties to the
Plan and the Participants, including those fiduciary duties set forth in ERISA § 404, 29 U.S.C. §
1104, and Department of Labor DOL”) Regulations, 29 C.F.R. 2550. Defendants breached
their fiduciary duties to the Plan and the Participants in two principal ways: (a) negligently
misrepresenting and negligently failing to disclose material facts to the Plan and the Participants
in connection with the management of the Plan’s assets and (b) negligently permitting the Plan to
purchase and hold Royal Dutch stock when it was imprudent to do so, As a result of these
wrongful acts, pursuant to ERISA § AQ9(a), 29 U.S.C. § 1109(a), defendants are personally liable
to make good to the Plan the losses resulting from each such breach of fiduciary duty. Plaintiff
also seeks equitable relief.

3, Plaintiff alleges that the defendants breached their fiduciary duties by negligently
misrepresenting and negligently failing to disclose material information necessary for
Participants to make informed decisions concerning Plan assets and benefits and the

appropriateness of the Plan investment in Royal Dutch stock, including, but not limited to, the

 
 

eee

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 3 of 45 PagelD: 3

facts that: (a) Royal Dutch substantially overstated oil and gas reserves and permitted other
accounting irregularities arising out of its joint partnership with Shell Transport and Trading
Company, PLC (“Shell Transport”) from a project off the western coast of Australia called the
Gorgon Joint Venture, and various projects in Nigeria; (b) Royal Dutch classified and reported,
in Securities and Exchange Commission (“SEC”) filimgs and other public documents, ccrtain
reserves as “proved rescrves” when, unbeknownst to Plan Participants, the reserves did not meet
SEC and industry requirements necessary to be classified as “proved,” and were improperly
reported as proved reserves in Royal Dutch’s financial reports, thereby materially artificially
inflating a key measure of the companics’ financial position and competitive standing; and (c)
Royal Dutch was forced to write-down its proved oil and gas reserves by 20%, or 3.9 billion
barrels, from 19.5 billion barrels to 15.6 billion barrels.

4. Following the write-down, Royal Dutch’s shares dropped 7.10% on the NYSE. In
addition, Moody’s placed the AAA rating of Royal Dutch under review for possible downgrade
because the write-down materially and adversely affected the company’s reserves-to-debt ratio.
In fact, following the belated disclosure, most analysts and commentators concluded that,
because of the magnitude of the write-down and the clear SEC and industry guidelines relating ta
reserve classification, the reserve overstatements could not have been a result of error or
accident, but rather, that the reserves were knowingly overstated to preserve the company’s credit
rating and to shore up their competitive position.

5, On March 8, 2004, The Wall Street J ournal reported that the former Chairman of
the Company, Philip Watts, was warned of possible overstatements in the Company’s petroleum

reserves approximately two years before he publicly disclosed them.

 
 

eee ne

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 4 of 45 PagelD: 4

6. Then, on March 9, 2004, The New York Times reported that, in addition to
previously undisclosed knowledge of for Chairman Philip Watts, the Company’s current
Chairman, Van der Veer and its current chief financial officer, Judy Boynton, were also “advised

of huge shortfalls in proven oil and natural gas reserves in 2002, two ycars before they were

publicly disclosed.”
7. The New York Times further revealed that rather than disclose the known

problems to investors in 2002, the defendants instead created and carried out what a July 2002
memorandum describes as an “external storyline” and “investor relations script” that attempted
to “highlight major projects fueling growth,” and “stress[ed] the strength” of existing resources --
minimizing “the significance of reserves as a measure of growth.”

JURISDICTION AND VENUE

8. Plaintiff's claims arise under and pursuant to ERISA § 502, 29 U.S.C. § 1132.

9. This Court has jurisdiction over this action pursuant to ERISA § 502(e}(1), 29
U.S.C. § 1132(e)(1).

10. Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C. §
1132(e)(2), because this is the district where the where the breaches took place, where one or
more defendants reside or may be found, or where the acts and transactions alleged herein,
including the preparation and dissemination of materially false and misleading information,
occurred.

11. Pursuant to 28 U.S.C. §1391(d), as an alien corporation, de fendants may properly
be sued in any District in the United States, including the District of New Jersey. Thus, venue 15

proper in this District.

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 5 of 45 PagelD: 5

12. In connection with the acts, conduct and other wrongs alleged in this complaint,
defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,
including but not limited to, the United States mails, interstate telephone communications and
the facilitics of the national securities exchange.

PARTIES

13. Plaintiff Gordon Lancaster is a resident of the State of South Carolina and is and
was at all relevant times a Participant in the Plan within the meaning of ERISA § 3(7), 29 U.S.C.
§ 1002(7).

14. Defendant Royal Dutch is a Netherlands corporation with its principal executive
office located at 30 Carel van Bylandtlaan, 2596 HR The Hague, The Netherlands. Royal Dutch
is a 60% owner of Shell Petroleum Netherlands and Shell Petroleum UK.

15, Defendant Jeroen Van der Veer (“Van der Veer”) is the current Chairman of the
Company and was, at all relevant times, the President, a Managing Director and a Group
Managing Director of the Company. Previously, Van der Veer served in various capacities at the
Company in refinery process design, refining and markcting, as Area Coordinator Sub-Saharan
Africa, as Managing Director of Shell! Nederland, and as President and Chief Executive Officer
of Shell Chemical Company in the USA. Additionally, Van der Vecr serves or served as a
member of the Supervisory Board of De Nederlandsche Bank, and as an Advisory Director to
Unilever, As Chairman of the Company, Van der Veer had the ability to direct the action to be
taken with respect to the Plan.

16. Defendant Philip Watts (“Watts”}, who was ousted from his post as Chairman on

March 3, 2004, was, at all relevant times, Chairman as well as a Director and Managing Director

 
 

eee

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 6 of 45 PagelD: 6

of the Company. Previously, Watts served as Chief Executive Officer of Exploration and
Production of the Company and, in that capacity, led the Royal Dutch’s oil and gas exploration
responsible for booking the Company's petroleum reserves. As the former Chairman of the
Company, Watts had the ability to direct the action to be taken with respect to the Plan.

17, During the Class Period, defendants Wan der Vecr and Watts, as administrators,
senior executive officers and/or directors of Royal Dutch, were privy to non-public information
concerning its business, finances, products, markets and present and future business prospects via
access to internal corporate documents, conversations and connections with other corporate
officers and employees, attendance at management and Board of Directors meetings and
committecs thercof and via reports and other information provided to them in connection
therewith. Because of their possession of such information, Van der Veer and Watts were
negligent in misrepresenting and/or failing to disclose material information to Plan Participants.

18. Defendant Pervis Thomas, Jr, (“Thomas”) is the Chief Information Officer of the
Company. Thomas is designated by Shell Provident Fund as the Administrator of the Plan.
Because of his affiliation with Royal Dutch and his access to internal Company reports and
memoranda, and his expericnce with Company accounting practices, Thomas knew or should
have known (1) that Royal Dutch had negligently made the materially false or misleading public
statements and negligently failed to disclose material information as alleged below and (2) that
purchase of Royal Dutch stock was an imprudent investment as alleged below.

CLASS ACTION ALLEGATIONS
19. Plaintiff brings this action in part as a class action pursuant to Rules 23(a) and

(b)(1) and (3) of the Federal Rules of Civil Procedure on behalf of a class consisting of all

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 7 of 45 PagelD: 7

Participants in the Plan for whose individual accounts the Plan purchased and/or held shares of
Royal Dutch stock during the Class Period (i.e. between December 3, 1999 and January 9, 2004,
both dates inclusive). Excluded from the Class are Defendants herein, directors of Royal Dutch,
members of their immediate families, and the heirs, successors or assigns of any of the foregoing.

20. The members of the Class arc so numerous that joinder of all members is
impracticable, While the exact number of Class members is unknown to plaintiff at this time and
can only be ascertained through appropriate discovery, plaintiff believes there are, at a minimum,
thousands of members of the Class in that Royal Dutch’s public statements represent that it had
tens of thousands of employees in the United Siates during the Class Period, and a substantial
number of these employees were Participants in the Plan for whose account the Plan held Royal
Dutch securities.

21, Common questions of law and fact exist as to all members of the Class and
predominate over any questions affecting solely individual members of the Class. Among the

questions of law and fact common to the Class are:

a. whether defendants were fiduciaries of the Plan and/or the Participants;
b. whether defendants breached their fiduciary duties;

c. whether the Plan and the Participants were injured by such breaches; and
d. whether the Class is entitled to damages and injunctive relief.

92. Plaintiff's claims are typical of the claims of the members of the Class, as plaintiff
and members of the Class sustained injury arising out of Defendants’ wrongful conduct in
breaching their fiduciary duties and violating ERISA as complained of herein.

23. Plaintiff will fairly and adequately protect the interests of the members of the

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 8 of 45 PagelD: 8

Class. Plaintiff has retained compctent counsel. Plaintiff has no interests antagonistic to or in
conflict with those of the Class.

24. Prosecution of separate actions by members of the Class would create a risk of
inconsistent adjudications with respect to individual members of the class which would establish
incompatible standards of conduct for defendants, or adjudications with respect to individual
members of the class would, as a practical matter, be dispositive of the interests of the other
members not parties to the adjudications or substantially impair or impede their ability to protect
their interests.

25.  Aclass action is superior to other available methods for the fair and cfficient
adjudication of the controversy since joinder of all members of the Class is impracticable.
Furthermore, because the injury suffered by the individual Class members may be relatively
small, the expense and burden of individual litigation makes it impracticable for the Class
members individually to redress the wrongs donc to them. There will be no difficulty in the
management of this action as a class action.

DESCRIPTION OF THE PLAN

96. The Plan is an employee benefit Plan within the meaning of ERISA §§ 3(3) and
3(2)(A), 29 U.S.C. §§ 1002(3) and 1002(2)(A).

27. The Plan is a “detined contribution” or “individual account” Plan within the
meaning of ERISA § 3(34), 29 U.S.C, § 1002(34), in that the Plan provides for individual
accounts for each Participant and for benefits based solcly upon the amount contributed to the
Participant’s account, and any income, expenses, gains and losses, and any forfeitures of

accounts of other Participants which may be allocated to such Participant’s accounts.

 

 
 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 9 of 45 PagelD: 9

Consequently, retirement benefits provided by the Plan is based solely on the amounts allocated
to each individual’s account.

28. The Plan is a “401(k)” voluntary contribution Plan whereby Participants direct the
Plan to purchase investments from among the investment options available in the Plan and
allocate them to Participants’ individual accounts.

29. The Plan provides several options for investment of Participant contributions
including the Royal Dutch Stock Fund.

30. Royal Dutch is the Sponsor of the Plan within the meaning of ERISA § 3(16)(B),
29 U.S.C. § 1002(16)(B).

DEFENDANTS WERE FIDUCIARIES OF THE PLAN

31. Defendant Thomas is designated by the Shell Provident Fund the Administrator of
the Plan within the meaning of ERISA § 3(16)(A), 29 U.S.C. § 1002(16)(A), because he was so
designated on the Plan’s Form 5500 as filed with the DOL and Forms | 1-K filed with the SEC.
Thomas is the “Named Fiduciary” under ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1). Moreover,
to the extent that Thomas was delegated responsibilitics under the Plan or a procedure specified
in the Plan, he acted as named fiduciary under ERISA § 402(aX(2), 29 U.S.C. § 1102(a)(2).

32. Thomas was also a fiduciary because he exercised discretionary authority to
establish investment options under the Plan, including the Royal Dutch Stock Fund. In
particular, Thomas had the duty to review Plan investment policies and alternatives and the
selection and performance of those alternatives, and had the discretion to establish, change and
terminate investment options under the Plan.

33. Thomas was also a fiduciary because he had the duty to investigate fully the

 

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 10 of 45 PagelD: 10

investment options under the Plan, and to elicit from Royal Dutch information necessary for the
proper administration of the Plan sufficient to permit Participants to make proper investment
decisions with respect to the investment options.

34. Royal Dutch was also a fiduciary because it disseminated to Participants
Summary Plan Descriptions (individually and collectively, “SPD”). Fiduciaries of the Plan are
required under ERISA to furnish certain information to Participants. For example, ERISA § 101,
29 U.S.C. § 1021, requires the Plan’s Administrator to furnish to Participants the SPD. ERISA §
102, 29 U.S.C.§ 1022, provides that the SPD must apprise Participants of their rights and
obligations under the Plan. The SPD and all information contained or incorporated thercin
constitute representations in a fiduciary:capacily upon which Participants are entitled to rely in
determining the identity and responsibilities of fiduciaries under the Plan and in making
decisions concerning their benefits and investment and management of the Plan’s assets allocated
to their accounts.

35, Royal Dutch was also a fiduciary in that it disseminated to Participants
prospectuses for the Plan (“Prospectus”) which purported to describe the investment
characteristics of Plan investment options. The Prospectus and all information contained or
incorporated therein constitute
a tepresentation in a fiduciary capacity upon which Participants are cntitled to rely in making
decisions concerning their benefits and investment and management of Plan assets allocated to their
accounts.

36. As more fully alleged below, Van der Veer and Waits were de facto fiduciaries of

 

the Plan as a result of their discretionary authority or control over the Plan under the very broad

10

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 11 of 45 PagelD: 11

definition of “fiduciary” set forth in ERISA at § 3(21)(A), 29 U §.C. § 1002(21)(A). A person or
entity is a fiduciary even if the Plan does not name him as such or by its terms assign fiduciary
duties to him where, by his conduct, he engages in fiduciary activities. “hose who have
discretion over management of the Plan or the Plan's asscts are fiduciaries regardless of the
labels or duties assigned to them by the language of the Plan. Moreover, in order to fulfill the
express remedial purpose of ERISA, the definition of “fiduciary” is to be construed broadly.

37. Van det Veer and Watts were also fiduciaries becausc of direct representations to
Participants relating specifically to Plan mvestment options. For example, Watts was acting as a
fiduciary with respect to the direct representations he made to Plan Participants among others,
intentionally and explicitly withholding and/or spinning information regarding the Company’s
petroleum reserves.

DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES

38, Pursuant to ERISA § 404, fiduciaries have a duty to discharge their dutics with
respect to the Plan prudently and solcly in the interests of Participants and Beneficiaries and for
the exclusive purpose of providing benefits to Participants and their Beneficiaries. A fiduciary’s
duties of loyalty and prudence also entail a duty to conduct an independent investigation into, and
to continually monitor, the merits of the investment alternatives in the Plan, including cmployer
securities, to ensure that each investment is a suitable and proper option for the Plan. The
selection, monitoring and continuation of the investment alternatives under the Plan were subject
to the above-described fiduciary dutics.

39. Pursuant to ERISA § 404(a), 29 U.S.C. § 1104(a), the Plan’s fiduciaries had a

duty to discharge their duties with respect to the Plan with the care, skill, prudence and diligence

11

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 12 of 45 PagelD: 12

under the circumstances then prevailing that a prudent man acting in like capacity and familiar
with such matters would use in the conduct of an enterprise of a like character and of like aims,
and to diversify investment in the Plan so as to minimize the risk of large losses.

40. Pursuant to ERISA § 409(a), 29 U.S.C. § 110(a), any fiduciary who breaches any
of the responsibilities, obligations or duties imposed by ERISA § 404 shall be personally liable to
make good to the Plan any losses to the Plan resulting from each breach and shall be subject to
such other equitable and remedial relief as the court may deem appropriate.

41. Companies typically provide two types of pension plans: (a) a “defined benefit”
plan, where the amount of an employce’s retirement benefit is a direct obligation of the company
which is a set amount (typically based on salary while employed and number of years of
employment); and (b) a “defined contribution” plan, such as a 401(k) plan, where the retirement
benefit is based solely on the amount invested and the earnings made in an employee’s plan
account. Fiduciaries of defined bencfit plans, who invest or actively supervise the investment of
plan assets, are liable under ERISA for imprudent investments made by the plan, and they are
liable for and must make good to the plan any losses suffered by the plan and any loss of bencfits
suffered by beneficiaries as a result of imprudent investments. Fiduciaries of defined
contribution plans are similarly liable under ERISA § 404(a), 29 U.S.C. § 1 104(a), for imprudent
investments made by a plan, even where the investment choice is selected by the participant,
unless the plan and the fiduciarics comply with the strict requirements of ERISA § 404(c), 29
U.S.C. § 1104(c). Where the plan and fiduciaries do nol comply with section 404(c), then the
fiduciaries’ liability for imprudent investments is the same as the liability of a fiduciary of a

traditional pension plan.

 

 
 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 13 of 45 PagelD

113

42. Fiduciaries can shift liability for imprudent investments to fiduciaries under

Section 404c if, among other things, they meet four specific requirements:

(a)
b)

c)

d)

they disclose in advance the intent to shift liability to Participants:

they ensure that Participants are not subject to undue influence;

they provide an adequate description of the investment objectives and nsk
and return characteristics of each investment option; and

they disclose to Participants all material information necessary for
Participants to make investment decisions that they are not precluded irom
disclosing under other applicable law. In this regard, fiduciaries have a
choice — they can disclose all material information to Participants, including
information that they arc not required to disclose under the securities laws,
and shift liability to Participants, or they can comply with the more limited
disclosure requirement under the securities laws but remain liable for
imprudent investments. 29 C.F.R. § 2550,.404¢e-1(b)(2)(i)(B)(i) and (11) and

(c)(2)(4) and (ii).

43. Defendants failed to shift liability to Participants for imprudent investment

decisions under section 404(c) for three reasons as alleged in Claim | below; (i) they failed to

disclose in a fiduciary capacity all material information that they were not precluded from

disclosing under other applicable law and which was necessary for Participants to make informed

investment decisions; (ii) they failed to provide an adequate description of the investment

objectives and risk and return characteristics of the Funds; and (iii) they failed to ensure that

Participants were not subject to undue influence, and indeed themselves subjected Participants to

13

 
 

a

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 14 of 45 PagelD: 14

undue influence.
SUBSTANTIVE ALLEGATIONS
Background of Royal Dutch

44. Royal Dutch is a holding company that, in conjunction Shell ‘Transport & Trading
Company, PLC, owns, directly or indirectly, investments in the companics constituting the
Royal Dutch/Shell Group of Companies (collectively the “Group”). ‘The Company is engaged in
the business of producing, refining, storing, transporting, supplying and distributing petroleum
and petroleum products. The operating companies of the Group are engaged in various activities
related to oil and natural gas, chemicals, power generation, renewable resources and other
businesses-in over 135 countries.

45. Present in more than 145 countries and territotics worldwide, the Group is
engaged in the business of exploration and production of gas and power, oil products, chemicals
and renewables, as well as other activities. There are two group holding companies: Shell
Petroleum N.Y. in the Netherlands and The Shell Petroleum Company Limited in the United
Kingdom (the Group Holding Companies). The Group Holding Companies, between them, hold
all the shares in Royal Dutch’s service companies, and, directly or indirectly, all Company
interests in its operating companies.

46, Royal Dutch is entitled to have its nominees clected as a majority of, and Shell
Transport is entitled to have its nominees elected as the balance of, the members of the Boards of
Directors of the two Group Holding Companies. Every member of the Board of Management of
Royal Dutch and every Managing Director of Shell Transport is also a member of the Presidium

of

14

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 15 of 45 PagelD: 15

the Board of Directors of Shell Petroleum N.V. and a Managing Director of The Shell Petroleum
Company Limited. As such, they arc generally known as “Group Managing Directors”. They are
also appointed by the Boards of Shell Petroleum N.V. and The Shell Petroleum Company Limited
toa joint committee known as the Committee of Managing Directors, which considers and develops
objectives and long-term plans.

CLAIM I

DEFENDANTS NEGLIGENTLY MISREPRESENTED AND
NEGLIGENTLY FAILED TO DISCLOSE MATERIAL I FORMATION

        

47. The allegations of all of the paragraphs set forth above are specifically realleged
and incorporated herein by reference.

48. Pursuant to ERISA § 404, 29 U.S.C. § 1104, defendants have a duty to discharge
their duties with respect to the Plan prudently and solely in the interests of Participants and
Beneficiaries and for the exclusive purpose of providing benefits to Participants and their
Beneficiaries. The duty of the fiduciary includcs at least:

(a) a duty not to misinform,

(b) a duty to inform when the fiduciary knows or should know that silence might
he harmful; and

(c) a duty to convey complete and accurate information material to the
circumstances of participants and beneficiaries.

49, In thc petroleum industry, there are two key measures of a company’s operating
performance and future prospects. Those two key measures arc reported reserves and future

discounted cash flows. During the Class Period, Royal Dutch’s reporting of reported reserves

15

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 16 of 45 PagelD: 16

and future discounted cash flows was materially false and misleading. By reporting materially
false and misleading reported reserves and future discounted cash flows, Royal Dutch was able to
inflate its stock price, maintain its credit rating, and maintain its status in the petroleum industry
as a leader.

Royal Dutch’s SEC Form 20-F
For the Fiscal Year Ended December 31, 1998

50. The Class Period commences on December 3, 1999. At that time, Royal Dutch
filed with the SEC an annual report on Form 20-F, With respect reported reserves, the Company
stated:

Critical Accounting Policies

In order to prepare the Financial Statements in conformity with generally
accepted accounting principles in the Netherlands and the USA, management
has to make estimates and assumptions. The matters described below are
considered to be the most critical in understanding the judgments that arc involved
in preparing the Financial Statements and the uncertainties that could impact the
amounts reported on the results of operations, financial condition and cash flows.
Accounting policies are described in Note 2 to the Financial Statements.

Estimation of oil and gas reserves

Oil and gas reserves have been estimated in accordance with industry standards
and SEC regulations. Proved oil and gas reserves are the estimated quantitics
of crude oil, natural gas and natural gas liquids that geological and engincering
data demonstrate with reasonable certainty to be recoverable in future years
from known reservoirs under existing economic and operating conditions.
These estimates do not include probable or possible reserves. Estimates of oil
and gas reserves are inherently imprecise and represent only approximate
amounts and are subject to future revision, as they are based on available
reservoir data, prices and costs as of the date the estimate is made, Accordingly,
the financial measures that are based on proved reserves are also subject to
change. (Emphasis added).

51. Additionally and with respect to reported reserves, Royal Dutch stated:

16

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 17 of 45 PagelD: 17

Supplementary Information — Oil and Gas Reserves

Proved reserves are the estimated quantities of oil and gas which geological and
engineering data demonstrate with reasonable certainty to be recoverable im
future years from known reservoirs under existing economic and operating
conditions. Proved developed reserves are those reserves which can be expected
to be recovered through existing wells with existing equipment and operating
methods. The reserves reported exclude volumes attributable to oil and gas
discoveries which are not at present considered proved. Such reserves will be
included when technical, fiscal and other conditions allow them to be
economically developed and produced.

Proved reserves are shown net of any quantities of crude oil or natural gas that
are expected to be taken by others as royaltics in kind but do not exclude certain
quantities related to royalties expected to be paid in cash or those related to
fixed margin contracts. Proved reserves include certain quantities of crude oil
or natural gas which will be produced under arrangements which involve
Group companies in upstream risks and rewards but do not transfer title of the
product to those companies. (Emphasis added).

52. With respect to future cash flows related to proved oil and gas reserve quantitics,
a key measure of prospective operating performance based in substantial part on proved oil and
gas reserves, the Company’s Form 20-F stated:

The carrying amounts of fixed assets are reviewed for possible impairment whenever
events or changes in circumstances indicate that the carrying amounts of those asscts
are written down to fair value. For this purpose, assets are grouped based on
separately identifiable and largely independent cash flows. Estimates of current cash
flows of assets related to hydrocarbon production activities are based on proved
reserves, except in circumstances where it is probable that additional resources will
be developed and contribute to cash flows in the future.

United States accounting principles require the disclosure ofa standardized measure
of discounted future cash {lows, relating to proved oil and gas reserve quantities and
based on prices and costs at the end of each year, currently enacted tax rates and a
10% discount factor. The information so calculated does not provide a reliable
measure of future cash flows from proved reserves, nor does it permit a realistic
comparison to be made of one entity and another because the assumptions used
cannot reflect the varying circumstances within each entity. In addition, a substantial
but unknown proportion of future real cash flows from oil and gas production
aclivities is expected to derive from reserves which have already been discovered, but

17

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 18 of 45 PagelD: 18

which cannot yet be regarded as proved.

53. For fiscal year 1998, Royal Dutch reported that future net cash flows related to
proved oil and gas reserve quantities were $59,460,000. According to annual reports, a 10%
percent discount factor or ($28,791,000) was subtracted from the future net cash flows. As such,
Royal Dutch reported that its standardized measure of discounted future cash flows for fiscal year
1998 were $30,669,000.

Royal Dutch’s SEC Form 20-F
For the Fiscal Year Ended December 31,1999

54. On April 11, 2000, Royal Dutch filed an annual report with the SEC on Form 20-
E. The Form 20-F stated:
Critical Accounting Policics

In order to prepare the Financial Statements in conformity with generally
accepted accounting principles in the Netherlands and the USA, management
has to make estimates and assumptions. The maltcrs described below are
considered to be the most critical in understanding the judgments that are involved
in preparing the Financial Statements and the uncertainties that could impact the
amounts reported on the results of operations, financial condition and cash flows.
Accounting policies are described in Note 2 to the Financial Statements.

Estimation of oil and gas rescrves

Oil and gas reserves have been estimated in acco rdance with industry standards
and SEC regulations. Proved oil and gas reserves are the estimated quantities
of crude oil, natural gas and natural gas liquids that geological and engineering
data demonstrate with reasonable certainty to be recoverable in future years
from known reservoirs under existing economic and operating conditions.
These estimates do not include probable or possible reserves. Estimates of oil
and gas reserves are inherently imprecise and represent only approximate
amounts and are subject to future revision, as they are based on available
reservoir data, prices and costs as of the date the estimate is made. Accordingly,
the financial measures that are based on proved reserves are also subject to
change. (Emphasis added).

18

 
 

er

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 19 of 45 PagelD: 19

55. Additionally and with respect to reported reserves, Royal Dutch stated:
Supplementary Information — Oil and Gas Reserves

Proved reserves are the estimated quantities of oil and gas which geological and
enginecring data demonstrate with reasonable certainty to be recoverable in
future years from known reservoirs under existing economic and operating
conditions. Proved developed reserves are those reserves which can be expected
to be recovered through existing wells with existing equipment and operating
methods. The reserves reported exclude volumes attributable to oil and gas
discoveries which are not at present considered proved. Such reserves will be
included when technical, fiscal and other conditions allow them to be
economically developed and produced.

Proved reserves are shown net of any quantities of crude oil or natural gas that
are expected to be taken by others as royalties in kind but do not exclude certain
quantities related to royalties expected to be paid in cash or those related to
fixed margin contracts. Proved reserves include certain quantities of crude oil
or natural gas which will be produced under arrangements which involve
Group companies in upstream risks and rewards but do not transfer title of the
product to those companies. (Emphasis added).

56. Moreover, Royal Dutch stated that the Group’s proved oil and gas reserves for
fiscal year 1999 were 19,869 million barrels.

57. With respect to future cash flows related to proved oil and gas reserve quantities,
a key measure of prospective operating performance based in substantial part on proved oil and
gas Teserves, the Company’s Form 20-F stated:

The carrying amounts of fixed assets are reviewed for possible impairment whenever

events or changes in circumstances indicate that the carrying amounts of those assets

are written down to fair value. For this purpose, assets are grouped based on

separately identifiable and largely independent cash flows. Estimates of current cash

flows of assets related to hydrocarbon production activities are based on proved

reserves, cxcept in circumstances where it is probable that addi tional resources will

be developed and contribute to cash flows in the future.

United States accounting principles require the disclosure of astandardized measure

of discounted future cash flows, relating to proved oil and gas reserve quantities and
based on prices and costs at the end of each year, currently enacted lax rates and a

19

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 20 of 45 PagelD: 20

10% discount factor. The information so calculated does not provide a reliable
measure of future cash flows from proved reserves, nor does it permit a realistic
comparison to be made of one entity and another because the assumptions used
cannot reflect the varying circumstances within each entity. In addition, a substantial
but unknown proportion of future real cash flows from oil and gas production
activities is expected to derive from reserves which have already been discovered, but
which cannot yet be regarded as proved.

58. For fiscal year 1999, Royal Dutch reported that future net cash flows related to
proved oil and gas reserve quantities were $102,785,000. According to annual reports, a 10%
percent discount factor or ($47,986,000) was subtracted from the future net cash flows. As such,
Royal Dutch reported that its standardized measure of discounted future cash flows for fiscal year
1999 were $54,799,000.

Royal Dutch’s SEC Form 20-F
For the Fiscal Year Ended December 31, 2000

59. On April 12, 2001, Royal Dutch filed an annual report with the SEC on Form 20-
F. The Form 20-F stated:
Critical Accounting Policics

In order to prepare the Financial Statements in conformity with generally
accepted accounting principles in the Netherlands and the USA, management
has to make estimates and assumptions. The matters described below are
considered to be the most critical in understanding the judgments that are involved
in preparing the Financial Statements and the uncertainties that could impact the
amounts reported on the results of operations, financial condition and cash flows.
Accounting policies are described in Note 2 to the Financial Statements.

Estimation of oil and gas reserves

Oil and gas reserves have been estimated in accordance with industry standards
and SEC regulations. Proved oil and gas reserves are the estimated quantities
of crudc oil, natural gas and natural gas liquids that geological and engincering
data demonstrate with reasonable certainty to be recoverable in future years
from known reservoirs under existing economic and operating conditions.
These estimates do not include probable or possible reserves. Estimates of oil

20

 

 
 

ee

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 21 of 45 PagelD: 21

and gas reserves are inherently imprecise and represent only approximate
amounts and are subject to future revision, as they are based on available
reservoir data, prices and costs as of the date the cstimate is made. Accordingly,
the financial measures that are based on proved reserves are also subject to
change. (Emphasis added).

60. Additionally and with respect to reported reserves, Royal Dutch stated:
Supplementary Information — Oil and Gas Reserves

Proved reserves are the estimated quantities of oil and gas which geological and
engineering data demonstrate with reasonable certainty to be recoverable in
future years from known reservoirs under existing economic and operating
conditions. Proved developed reserves are those reserves which can be expected
to be recovered through existing wells with existing equipment and operating
methods. The reserves reported exclude volumes attributable to oil and gas
discoverics which are not at present considered proved. Such reserves will be
included when technical, fiscal and other conditions allow them to be
cconomically developed and produced. me

Proved reserves are shown net of any quantities of crude oil or natural gas that
are expected to be taken by others as royalties in kind but do not exclude certain
quantities related to royaltics expected to be paid in cash or those related to
fixed margin contracts, Proved reserves include certain quantities of crude oil
or natural gas which will be produced under arrangements which involve
Group companies in upstream risks and rewards but do not transfer title of the
product to those companies. (Emphasis added).

61, Moreover, Royal Dutch stated that the Group’s proved oil and gas reserves was
19,095 million barrels.

62. With respect to future cash flows related to proved oi! and gas rescrve quantities,
a key measure of prospective operating performance based in substantial part on proved oil and
gas reserves, the Company’s [orm 20-F stated:

The carrying amounts of fixed assets are reviewed for possible impairment whenever

events or changes in circumstances indicate that the carrying amounts of those assets

are written down to fair valuc. For this purpose, assets are grouped based on

separately identifiable and largely independent cash flows. Estimates of current cash
flows of assets related to hydrocarbon production activities are based on proved

21

 
 

rrr Eee

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 22 of 45 PagelD: 22

reserves, except in circumstances where it is probable that additional resources will
be developed and contribute to cash flows in the future.

United States accounting principles require the disclosure ofa standardized measure
of discounted future cash flows, relating to proved oil and gas reserve quantities and
based on prices and costs at the end of each year, currently enacted tax tates and a
10% discount factor. The information so calculated does not provide a reliable
measure of future cash flows from proved reserves, nor docs it permit a realistic
comparison to be made of one entity and another because the assumptions used
cannot reflect the varying circumstances within each entity. In addition, a substantial
but unknown proportion of future real cash flows from oil and gas production
activities is expected to derive from reserves which have already been discovered, but
which cannot yet be regarded as proved.

63. For fiscal year 2000, Royal Dutch reported that future net cash flows related to
- proved oil and gas reserve quantities were $114,861,000. According to annual reports, a 10%
percent discount factor or ($51,820,000) was subtracted from the future net cash flows .As such,
Royal Dutch reported that its standardized measure of discounted future cash. flows for fiscal year
2000 were $63,041,000.

Royal Dutch’s Form 20-F
For the Fiscal Year Ended December 31,2001

64. On April 14, 2002, Royal Dutch filed an annual report with the SEC on Form 20-
F. The Form 20-F stated:
Critical Accounting Policies

In order to prepare the Financial Statements in conformity with generally
accepted accounting principles in the Netherlands and the USA, management
has to make estimates and assumptions. Thc matters described below are
considered to be the most critical in understanding the judgments that are involved
in preparing the linancial Statements and the uncertainties that could impact the
amounts reported on the results of operations, financial condition and cash flows.
Accounting policies are described in Note 2 to the Financial Statements.

Estimation of oil and gas reserves

22

 
 

i

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 23 of 45 PagelD: 23

Oil and gas reserves have been estimated in accordance with industry standards
and SEC regulations. Proved oil and gas reserves are the estimated quantities
of crude oil, natural gas and natural gas liquids that geological and cngineering
data demonstrate with reasonable certainty to be recoverable in future years
from known reservoirs under existing economic and operating conditions.
These estimates do not include probable or possible reserves, Estimates of oil
and gas reserves are inherently imprecise and represent only approximate
amounts and are subject to future revision, as they are based on available
reservoir data, prices and costs as of the date the estimate is made. Accordingly,
the financial measures that are based on proved reserves are also subject to
change. (Emphasis added).

65. Additionally and with respect to reported reserves, Royal Dutch stated:
Supplementary Information — Oil and Gas Reserves

Proved reserves are the estimated quantities of oil and gas which geological and
engineering data demonstrate with reasonable certainty to be recoverable in
future years from known reservoirs under existing economic and operating
conditions. Proved developed reserves are those reserves which can be expected
to be recovered through existing wells with existing cquipment and operating
methods. The reserves reported exclude volumes attributable to oil and gas
discoveries which are not at present considered proved. Such reserves will be
included when technical, fiscal and other conditions allow them to be
economically developed and produced.

Proved reserves are shown net of any quantities of crude oil or natural gas that

are expected to be taken by others as royalties in kind but do not exclude certain

quantities related to royalties expected to be paid in cash or those related to

fixed margin contracts. Proved reserves include certain quantities of crude oil

or natural gas which will be produced under arrangements which involve

Group companies in upstream risks and rewards but do not transfer title of the

product to those companies. (Emphasis added).

66. Moreover, each stated that proved oil and gas reserves for 2001 were 19,095
million barrels.

67. With respect to future cash flows related to proved oil and gas reserve quantities,

a key measure of prospective operating performance based in substantial part on proved oil and

gas reserves, the Company’s Form 20-F stated:

23

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 24 of 45 PagelD: 24

The carrying amounts of fixed assets are reviewed for possible impairment whenever
events or changes in circumstances indicate that the carrying amounts ol those assets
are written down to fair value. For this purpose, assets are grouped based on
separately identifiable and largely independent cash flows. Estimates of current cash
flows of assets related to hydrocarbon production activities are based on proved
reserves, except in circumstances where it is probable that additional resources will
be developed and contribute to cash flows in the future.

United States accounting principles require the disclosure of a standardized measure
of discounted future cash flows, relating to proved oil and gas reserve quantities and
based on prices and costs at the end of cach year, currently enacied tax rates and a
10% discount factor. The information so calculated does not provide a reliable
measure of future cash flows from proved reserves, nor does it permit a realistic
comparison to be made of one entity and another because the assumptions used
cannot reflect the varying circumstances within each entity. In addition, a substantial
but unknown proportion of future real cash flows from oil and gas production
activities is expected to derive from reserves which have already been discovered, but
- which cannot yet be regarded as proved.

68. ‘For fiscal year 2001, Royal Dutch reported that future net cash flows related to
, proved oil and gas reserve quantities were $86,354,000. According to annual reports, a 10%
percent discount factor or ($40,476,000) was subtracted from the future net cash flows. As such,
Royal Dutch reported that its standardized measure of discounted future cash flows for fiscal year
2001 were $45,878,000.

Royal Dutch’s SEC Form 20-F
For the Fiscal Year Ended December 31, 2002

69. On March 31, 2003, Royal Dutch filed an annual report with the SEC on Form
20-F. The Form 20-F stated:
Critical Accounting Policies

In order to prepare the Financial Statements in conformity with generally
accepted accounting principles in the Netherlands and the USA, management
has to make estimates and assumptions. The matters described below are
considered to be the most critical in understanding the judgments that are involved
in preparing the Financial Statements and the uncertainties that could impact the

24

 

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 25 of 45 PagelD: 25

amounts reported on the results of operations, financial condition and cash flows.
Accounting policies are described in Note 2 to the Financial Statements.

Estimation of oil and gas reserves

Oil and gas reserves have becn estimated in accordance with industry standards
and SEC regulations. Proved oil and gas reserves are the estimated quantities
of crude oil, natural gas and natural gas liquids that geological and engineering
data demonstrate with reasonable certainty to be recoverable in future years
from known reservoirs under existing economic and operating conditions.
These estimates do not include probable or possible reserves, Estimates of oil
and gas reserves are inherently imprecise and represent only approximate
amounts and are subject to future revision, as they are based on available
reservoir data, prices and costs as of the date the estimate is made. Accordingly,
the financial measures that are based on proved reserves are also subject to
change. (Emphasis added).

70. Additionally and with respect to reported reserves, Royal Dutch stated:
Supplementary Information — Oil and Gas Reserves

Proved reserves are the estimated quantities of oil and gas which geological and
engineering data demonstrate with reasonable certainty to be recoverable in
future years from known reservoirs under existing economic and operating
conditions. Proved developed reserves are those reserves which can be expected
to be recovered through existing wells with existing equipment and operating
methods. The reserves reported exclude volumes attributable to oil and gas
discoveries which are not at present considered proved. Such reserves will be
included when technical, fiseal and other conditions allow them to be
economically developed and produced.

Proved reserves are shown net of any quantitics of crude oil or natural gas that
are expected to be taken by others as royalties in kind but do not exclude certain
quantities related to royalties expected to be paid in cash or those related to
fixed margin contracts. Proved reserves include certain quantities of crude oil
or natural gas which will be produced under arrangements which involve
Group companies in upstream risks and rewards but do not transfer title of the
product to those companies, (Emphasis added).

71. Moreover, Royal Dutch stated that the Group’s proved oil and gas Tescrves were

19,347 million barrels.

25

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 26 of 45 PagelD: 26

72. With respect to future cash flows related to proved oil and gas reserve quantities,
a key measure of prospective operating performance based in substantial part on proved oil and
gas reserves, the Company's Form 20-F stated:

The carrying amounts of fixed assets arc reviewed for possible impairment whenever
events or changes in circumstances indicate that the carrying amounts of those assets
are written down to fair value. For this purpose, assets are grouped based on
separately identifiable and largely independent cash flows. Estimates of current cash
flows of assets related to hydrocarbon production activities are based on proved
reserves, except in circumstances where it is probable that additional resources will
be developed and contribute to cash flows in the future.

United States accounting principles require the disclosure of a standardized measure

of discounted future cash flows, relating to proved oil and gas reserve quantities and

based on prices and costs at the end of each year, currently enacted tax rates and a

10% discount factor. The information so calculated does not provide a reliable

measure of future cash flows from proved reserves, nor does it permit a realistic

comparison to be made of one entity and another because the assumptions used

cannot reflect the varying circumstances within each entity. In addition, a substantial

but unknown proportion of future real cash flows from oil and gas production

activities is expected to derive from reserves which have already been discovered, but

which cannot yet be regarded as proved.

73. For fiscal year 2002, Royal Dutch reported that future net cash flows related to
proved oil and gas reserve quantities were $123,185,000, According to annual reports, a 10%
percent discount factor or ($57,483,000) was subtracted from the future net cash flows. As such,
Royal Dutch reported that its standardized measure of discounted future cash flows for fiscal year
2002 were $65,702,000,

74. The statements contained above were each materially false and misleading
because the defendants negligently failed to disclose and/or misrepresented: (1) that Royal Dutch

had overstated its proved oil and gas reserve figures by 20%; (2) that Royal Dutch accomplished

the overstatement by including in its proved oil and gas reserves figures, when its venture

26

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 27 of 45 PagelD: 27

partners did not, estimates from the Gorgon Joint Venture in Australia and the Nigerian Projects
in Africa when such projects did not meet industry and SEC standards for proved reverses; (3)
that the inclusion of Gorgon Joint Venture in Australia and the Nigerian Projects in Africa and
other projects was accomplished through the booking of its proved oil and gas reversed figures
on the basis of initial letters of intent rather than on the basis of when such projects had been
contracted: and (4) as a result, Royal Dutch’s true market value was materially overstated at all
relevant times.
THE TRUTH IS REVEALED

75. On January 9, 2004, Royal Dutch announced that, following internal reviews,
some proved hydrocarbon reserves would be recategorized. The total non-recurring
recategorization, relative to the proved reserves as stated at December 31, 2002, represents 3.9
billion barrels of oi! equivalent (“BOR”) of proved reserves, or 20% of proved reserves at that
date. Over 90% of the total change is a reduction in the proved undeveloped category; the
balance is a reduction in the proved developed category.

76. Additionally, the Company stated that of the recategorizalion, two thirds (2.7
billion barrels) related to crude oil and natural gas liquids, and one third (1.2 billion BOE or 7.2
trillion standard cubic feet ) to natural gas. Royal Dutch indicated that the FAS 69 standardized
measure of discounted future cash flows associated with the proved reserves will be impacted.

77. ‘The Company further stated that reserves affected were mainly booked in the
period 1996 to 2002 and that a significant proportion of the recategorization related to the current
status of project maturity, thereby affecting a number of countries with the largest impact in

Nigeria and Australia. The majority of the overall recategorivation would be reported under

27

 
EEE

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 28 of 45 PagelD: 28

“Other Eastern Hemisphere.”

78. On news of this, shares of Royal Dutch fell 7.8%, or $4.15 per share, on heavy
volume, to close at $48.61 per share on January 9, 2004.

POST-CLASS PERIOD REVELATIONS

79. On January 12, 2004, The Wall Street Journal ran an article titled: “Shell Cuts
Reserve Estimate 20% As SEC Scrutinizes Oil Industry.” In the article, authors, Chip Cummins,
Susan Warren, and Michael Schroeder, stated that “Royal Dutch/Shell Group’s disclosure that it
overstated ils proven reserves by 20% rattled energy investors and is raising questions about
whether the oil industry has inflated a lifeblood measure of its future prospects.” The article
quoted Lynn Turner, a formet SEC chief accountant, as stating: “|‘'Jhe revision, looked like
more than a mistake. “A 20% restatement of proven reserves is a humongous error[.]... Fora’
company like Shell to have missed its proven reserves by that much is not an oversight. It’s an
intentional misapplication of the SEC’s rules.”

80. With respect to proved rescrves, the article stated:

Reserves are at the heart of an oil and gas company because (hey represent what can

be taken from the ground in the future. Since companies must replace the oil and gas

they produce each year just to stay even, reserve growth is a crucial indicator of how

well a company is doing. If the reserve size falls, the company 1s less valuable to
investors and its stock price will tumble.

 

81. On January 14, 2004, The Wall Street Journal ran an article titled: “Shell’s Watls
Draws Fire, Chairman Criticized Amid Overbooking Flap, Likely SEC Probe.” In the article,
authors, Chip Cummins and Michael Schroeder, stated:

As the Securities and Exchange Commission Jooks poised to delve into a huge

overbooking of reserves by Royal Dutch/Shell Group, the company’s chairman,
Philip Watts, has come under increasing fire for his stewardship of one of the world’s

28

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 29 of 45 PagelD: 29

largest oi] producers.

Last week, Shell said it erroneously ovcrhooked reserves by 20%, Reserves are a
crucial indicator of an oil company’s value. Shares in the group’s two holding
companies -- Royal Dutch Petrolcum Co. of the Netherlands, and Shell Transport &
Trading Co. of London -- have fallen sharply since the disclosure I'riday.

The unprecedented size of the overstatement makes an SEC investigation likely.
“The Shel! matter seems significant,” said SEC Commissioner Roel Campos. “l am
sure our enforcement staff will look into it. It is hard to sce how [Shell] could miss
50 badly.”

82. Additionally, the article stated that:

Analysts and investors have criticized Shell’ s lackluster performance under Sir Philip
against industry peers such as Exxon Mobil Corp., of Irving, Texas, and crosstown |
rival BP PLC. Sir Philip has cut the company’s production-growth estimates. Shell
also has performed poorly in recent years against Exxon and BP in finding and.
developing new prospects, which it needs to replace oil and natural-gas properties
depleted by production. :

83. On March 3, 2004, amid pressure from Royal Dutch’s shareholders, defendant
Watts, as well as Walter van de Vijver, head of Shell ‘s Exploration & Production operations,
were ousted from the Company.

&4. On March 8, 2004, ‘The Wall Street Journal ran an article titled: “Former
Chairman At Shell Was Told Of Reserve Issues: Memos as Early as 2002 Show Energy Giant's

Tally Might Overstate Holdings.” In the article, author Chip Cummins stated:

The ousted chairman of Royal Dutch/Shell Group was wamed of possible
overslatements in the oil titan’s petroleum rescrves two years before he publicly
disclosed them, according to two people familiar with the situation.

A memo, circulated to Sir Philip Watts and other senior executives in early
2002, warned that the company’s method of booking oil and natural-gas
reserves appeared to be inconsistent with U.S. Securities and Exchange
Commission guidelines, these two people said. The memo pointed out that the
company might have to revise downward its reserve tally by the equivalent of
about one billion barrels of oil, these people said.

29

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 30 of 45 PagelD: 30

The boards also found fault with Walter van de Vijver, Shell’s head of exploration
and production since 2001, who was ousted along with Sir Philip, according to this
person. Internal communications in early 2002 and throughout last year indicate Mr.
van de Vijver brought the problem to the attention of Sir Philip to come up with ways
to correct it, according to people familiar with the matter. “He didn’t bring it to the
attention of the right people,” said one of these people.

The audit committee’s findings appear to contradict Shell’s assertions that the
company acted quickly to disclose problems with its reserve accounting. It is unclear
what prompted Shell to act on the warnings late last year and to disclose the problem
in January.

Sir Philip previously said Shell “initiated contact” with the SEC on the issue prior to
the Jan. 9 disclosure. In a letter to employees on Jan. 16, Sir Philip said: “The scope
and timing of our announcement were determined by compliance with regulatory :
requirements on disclosure. We released the information at the earliest possible time
‘ulter the recategorized reserves had been quantified with some certainty.”

Onc document that was part of the internal communications was a memo circulated
among senior Shell executives -- including Sit Philip -- in early 2002, say the people
familiar with the matter. In it, managers at Shell’s exploration-and-production unit
warned that Shell’s internal guidelines for booking reserves didn’t appear to be in
line with current SEC guidelines, according to people who have reviewed the
document and described it to The Wall Street Journal. It is unclear who drafted the
memo.

Shcll’s reporting and auditing system appears to have broken down badly. Consider
the Gorgon field in western Australia. Shell was a partner there in a project to
produce and sell liquefied natural gas. Shell started booking reserves from the project
in 1997, even though other large partners, such as ChevronTexaco Corp., never
booked any reserves from the project.

The reserve additions from Ciorgon wound up in Shell’s “revisions” category for new
reserves, instead of its “new discoveries” category, in filings with the SEC. Last
month, in a day-long presentation explaining the reserve issue, Mr. van de Vijver
blamed the mistake on confusion between local reserve reports and company-wide
reports. Discoveries classified as “new” gencrally garner more attention from auditors
and investors and could have been challenged more easily internally.

eR OF

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 31 of 45 PagelD: 31

Some Shell executives also had an incentive, albeit a small one, to boost reserves.
Senior Shell managers are awarded year-end bonuses based on a companywide
“scorecard” system, which rates Shell’s performance on a number of metrics,
including financial targets. About 2% of that total performance review relates
directly to reserve additions, according to a company spokesman.

In Shell’s February presentation, Sir Philip said reserves had very little to do with the
company’s bonus scheme. “This is not some kind of big lever for the bonus,” he said.
“It’s just not like that.” A company spokesman declined to elaborate.

Though the incentive is small, it appears to contradict advice given by a senior
Shell reserves auditor, Anton Barendregt, in a 2002 industry workshop on
reserve accounting. Mr, Barendregt warned fellow petroleum engineers at the
time to avoid tying management-performance assessments to reserve additions,
“gs this might affect the objectivity with which reserves estimates are made,”
according to a summary of his comments provided by the Society of Petroleum -
Engineers. (Emphasis added).

R5. On March 9, 2004, The New York Times ran an article titled: “Oil Giant's
Officials Knew of Gaps in Reserves in ‘02.” In the article, authors Stephen Labaton and Jefl
Gerth, reported:

The new head of the Royal Duteh/Shell Group and its current chicf financial officer,
as well as the chairman ousted last week, were advised of huge shortfalls in proven
oil and natural gas reserves in 2002, two years before they were publicly disclosed,
according to company memorandums and notes of executive discussions.

But rather than disclose the problems to investors, senior executives in a July
3002 memorandum came up with — and later carried out — what the
memorandum described as an “external storyline” and “investor relations
script” that tried to “highlight major projects fueling growth,” “stress the
strength” of existing resources, and minimize the significance of reserves as a
measure of growth.

Problems with reserves were discussed among senior executives months earlicr.

A February 2002 memorandum said that one billion barrels of reserves “are no
longer fully aligned” with Sccurities and Exchange Commission rules because
the agency issued an interpretation of them. The memorandum said that an
additional 1.3 billion barrels of reserves were at risk because it was no longer certain
that they could be extracted during the remaining term of licenses betwecn the
company and three foreign countries.

31

 

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 32 of 45 PagelD: 32

* OF +

The company documents, which The New York Times and lawyers investigating
the company have copies of, suggest that current and former senior executives
had known about significant problems with reserves since at least 2002 and they
raise questions about whether the company moved swiftly to correct the
problem. The company’s accounting of reserves is now under investigation by the
S.E.C.

The July 2002 memorandum described licensing and other reserve problems in detail.

“Shell faces a challenge” in maintaining its proven reserves “over the coming years
— particularly during 2002 and 2003” and simultancously achieving production
growth and keeping expenses down, the July 18 memorandum begins. It said
technical and commercial constraints “equates to a shortfall of 2-3 billion” barrels of
proven reserves, which are oil and gas resources that are reasonably certain to he
produced.

The documents show that beginning late last summer, the company grew increasingly
concerned about the reserves issue after audit reports of some reserves, a tougher
accounting interpretation by the 8.E.C. and passage in 2002 of the Sarbanes-Oxley
Act, which imposes additional obligations on executives and audit committees.
Company executives were also focused on an inquiry about reserves at several
companies operating in the Gulf of Mexico, including Shell, that the $.E.C. began
in October 2002.

The February memorandum indicated that the shortfall in reserves could pose
significant competitive problems.

“Our reserves replacement performance over the past few years clearly illustrates the
emerging problems with our resource base and is becoming a source of competitive
disadvantage,” the memorandum said.

But the company did not appear seriously to consider whether to revise its reserve
figures until last August. Mr. van de Vijver, then head of exploration and production,
sent a memorandum to the audit committee explaining a host of reserve issues. On
the cover page of the memorandum, an unidentified executive scrawled a note.

“Potential exposure,” the note reads. “Some look like they should be debooked.”

Over the last two years, Sir Philip repeatedly minimized the reserve problems and
stressed the company had been quick in addressing and disclosing them.

32

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 33 of 45 PagelD: 33

Tn August 2002, a few weeks after the July memorandum, he was asked in an analyst
conference call about reports about reserve problems in Oman.

“There have been reports in Oman,” he replied. “Sometimes you get a bit of hiccup,
but I have no doubt that people are getting on top of that and that we will sce a pretty
good future.”

The July 2002 memorandum that talked about the “investor relations script”
suggested building on existing positive messages “already delivered externally.”

Last month, after revising the reserve figures, Sir Philip said the company had moved
swiftly.

“This thing came up late last year,” Sir Philip said in a conference call with analysts.
“As soon as that came to my attention, it was a matter of all hands on deck, and I
remember writing down the words ‘get the facts and do the right thing,’ because we
had a duty to disclose as soon as it was possible.” (Emphasis added).

86. On March 18, The Wall Strect Journal ran an article titled: “Shell Cuts Reserves Again,

 

Postpones Annual Report.” In the article, author Chip Cummins reported:

Royal Dutch/Shell Group Thursday cut its estimate of its energy reserves fora
second time and said it would postpone the publication of its annual report until
it had further scrutinized holdings in its global oil and natural-gas portfolios.

The surprise disclosure brings to 21% the amount by which Shell has slashed
its reserves, It stunned investors and analysts, who had been looking forward
to Shell’s schedulcd release of its annual report Friday to provide some clarity
about the reserve debacle and some assurances that management had started
to put the problem behind it.

Instead, the six-page release raised new questions, including worries about whether
Shell had further bad news to disclose on a conference call scheduled for 2 p.m.
GMT Thursday.

+E OK

Shell, the world’s third-largest oi! company by markct capitalization, also said it
wouldn’t re-book as planned a large chunk of reserves that it had cut from its tally.
In early January, Shell cut its reserves by 3.9 billion barrels of oil equivalent, or 20%.
But executives said carly last month that it would re-book some of those cuts.

33

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 34 of 45 PagelD: 34

Shell said Thursday that further concerns arose about its reserves as it was finalizing
its 2003 end-of-year numbers. As a result, thc company bired Rydcr Scott Co., an
independent reserve consultant, to conduct reviews of about 40% of Shell’s oil and
gas ficlds.

Shell said Thursday that it will cut a further 250 million barrels of oil equivalent from
its reserve tally, on top of the 3.9-billion-barrel cut earlier this year. The company
said it was also reducing the amount of reserves it planned to re-book as part of its
2003 year-end tally by 220 million barrels of oil equivalent.

The new reductions include gas associated with a large project at Ormen Lange in northern Norway.
Shell had said in February that it prematurely booked Ormen Lange reserves but planned to include
them in the company’s 2003 figures. In its statement Thursday, Shell reversed itself.

The 220-million-barre} reduction will cut Shell’s 2003 reserve replacement ratio
-- an important indicator of an oil company’s performance ~ to 82% from 98%.

The company also said it was the subject of an insider-trading investigation by the
Autoriteit Financiele Markten, or AFM, a Dutch financial regulator. Other regulators,
including the U.S. Securities and Exchange Commission, Brilain’s top financial
regulator and Euronext, the European stock exchange, also are investigating Shell’s
reserve restatement.

OK

‘The reserve cuts indirectly affect the company’s bottom line through accounting for
depreciation. In February, the company said its original reserve cut would result in
an after-tax depreciation chargc of $86 million. The new cuts will add charges of $20
million, and Shell said an additional $10 million in write-offs had becn identified as
aresult of the reserve downgrades.

The charges are insignificant compared to Shell’s net income last year of $12.7
billion, but the company also said that it would make unspecified amendments to
parts of its 2002 annual report and related SEC filings.

The changes -- which Shell said were recommended by SEC staff currently
investigating the reserve downgrades - will affect Shell’s “discussion and analysis of
financial conditions and results of operations” -- where companies typically make
important disclosures to investors about corporate finances, Shell’s statement said.
“Some disclosures will be increased,” the statement said. (Emphasis added).

87. Also on March 18, ‘The Wall Street Journal ran an article entitled, “Shell Eased

Rules in Mid-1990s On Accounting for Energy Reserves.” In the article, authors Chip Cummins

34

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 35 of 45 PagelD: 35

and Alexei Barrionuevo reported:

Royal Dutch/Shell Group's guidelines on accounting for natural-gas reserves
were relaxed as early as the mid-1990s, a move that appears to have played a
role in Shell’s overstatement of its energy holdings.

The loosening, as described by a former Shell executive, suggests that at least
some of Shell’s problems in accounting for its reserves may have predated the
arrival of Philip Waits, the recently deposed chairman who headed Shell’s
exploration and production unit from 1997 to 2001. But the change in Shell’s
rules doesn’t explain why significant natural-gas reserves booked on Sir Philip’s
watch weren’t removed from the company’s tally once they were tightened
again at the end of 2001.

The change appears to have led Shell to overstate or prematurely book reserves in
two big natural-gas fields in Australia and Norway. In particular, Shell’s actions
involving an icy natural-gas field off the coast of Norway show the energy giant
could be much more aggressive than its partners in booking reserves, a measure of
oil and natural-gas holdings closcly watched by investors.

It is unclear why the guidelines were relaxed so significantly, though at the time Shell
was facing intense pressure from investors and analysts to keep up with peers in
finding new reserves of crude oil and natural gas. It is also unclear if other guidelines
-- for booking crude-oil reserves, for instance -- were similarly relaxed. U.S.
accounting guidelines require only “reasonable certainty” from companics in
accounting for reserves, giving them leeway in making their own geological and
financial assumptions.

Sir Philip, ousted as chairman by Shell’s twin boards this month, led the exploration
and production unit when much of the overbooking occurred. Shell’s boards also
removed Walter van de Vijver, who succeeded Sir Philip as head of exploration.

ee +

Proved reserves, or hydrocarbons that a company expects to commercially extract,
are included cach year in filings with the SEC. In the carly 1990s, Shell's own
reserve-booking guidelines, contained in a two-volume document updated each year,
allowed executives to book proved natural-gas reserves only if Shell had signed a
sales contract for the gas.

In the mid-1990s, however, Shell loosened the rules to allow gas-reserve bookings
with only a “reasonable expectation” of an available market, according to a former

35

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 36 of 45 PagelD: 36

Shell executive.

Shell guidelines were amended again at the end of 2001 to war that gas [rom
“major” projects shouldn't be booked as reserves until agreements had been signed
concerning Shell’s commitment to invest money in the project, according to the
former Shell executive.

At the Gorgon field in northwestern Australia, Shell began booking gas reserves in
1997, even though a final investment decision at Shell isn’t expected until next year.
The Gorgon reserves, which ultimately totaled some 557 million barrels of oil
equivalent, weren’t taken off the books until Shell's January overstatement
disclosure.

Though Gorgon has attracted the attention of analysts and industry consultants,
Shell’s lesser-known reserve mistakes.at Ormen Lange, an offshore gas field in
northern Norway, underscore how different Shell’s booking standards were from
those of many of its peers. Shell began booking reserves at the Norwegian field ycars
before Shell and its partner companies at the site worked out difficult technical and
marketing hurdles on the project.”

In 1999, just two years after the field was found, Shell started booking gas reserves
that eventually grew to some 109 million barrels of oil equivalent. The company said
in a daylong presentation early last month that it erred in the booking.

Partners Norsk Hydro ASA, Statoil ASA, BP PLC and Exxon Mobil Corp. all held
off booking reserves al Ormen Lange until just a few months ago, only after all of the
risks had been thoroughly vetted, according to officials at those companics.

When Shell booked Ormen Lange reserves in 1999, the consortium partners had
drilled just two exploration wells and donc some preliminary feasibility studies, said
Thor Tangen, senior vice president with Norsk Hydro and the project’s director until
this past January.

Shell and its partners struggled with the tremendous technical challenges of drilling
a field in the deep Norwegian waters. Subzero tempcratures could freeze pipes at the
site, where 8,000 years ago a giant “submarine slide” had dumped sediment
equivalent in mass to Iceland on the sea floor, according to studies reviewed by
Norsk Hydro. The slide caused a tsunami thal spread debris across the seabed as far
as England and wiped out many of the early scttlers of Norway’s western coast.

‘The partners were so concerned that the project might trigger another disaster that

they conducted a $100 million study to establish its safety, according to project
managers at Norsk Hydro. ‘That study, begun in early 2000, wasn’t completed until

36

 

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 37 of 45 PagelD: 37

mid-2003. It found the project safe, allowing it to proceed.

But until last year, partners were still struggling to determine whether European
markets could absorb the supply of natural gas from the field. Markct-related
concerns caused the partners in 2001 to move the projected date for first gas flow to
late 2007 from 2006. The consortium completed an investment plan only in
December, alter the British and Norwegian governments approved a 747-mile sub-
sea pipeline -- the world’s longest -- to export gas from Norway to the eastern coast
of England.

In the early-February reserves presentation, Mr. van de Vijver said the early bookings
at Ormen Lange were attributable to Shell being “optimistic about the quality of the
source and the demand in the market,” according to a transcript provided by CCBN
StreetEvents.

He said Shell made a final investment decision in December and, therefore, planned
to rebook the Ormen Lange reserves. The Shell spokesman reiterated that the
company still expects to rebook Ormen Lange’s natural-gas reserves. (Emphasis
added). co

DEFENDANTS VIOLATION OF GAAP RULES
88. Given these accounting irregularities described above, the Company announced
discounted cash flows and proved reserves were in violation of GAAP, and the following
principles:

(a) The principle that “interim financial reporting should be based upon the same
accounting principles and practices used to prepare annual financial
statements” was violated (APB No. 28, 910);

(b) The principle that “financial reporting should provide information that is
useful to present to potential investors and creditors and other users in
making rational investment, credit, and similar decisions” was violated
(FASB Statement of Conccpts No. 1, 34);

@) The principle that “financial reporting should provide information about the
economic resources of 'an enterprise, the claims to those resources, and effects
of transactions, events, and circumstances that change resources and claims

to those resources” was violated (FASB Statement of Concepts No. 1, 440);

(d) The principle that “financial reporting should provide information about an

37

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 38 of 45 PagelD: 38

enterprise’s financial performance during a period” was violated (FASB
Statement of Concepts No. 1, 942);

(e) The principle that “completeness, meanmg that nothing is left out of the
information that may be necessary to insure that it validly represents
underlying events and conditions” was violated (FASB Statement of
Concepts No, 2, 979);

(f) The principle that “financial reporting should be reliable in that it represents
what it purports lo represent” was violated (FASB Statement of Concepts
No. 2, 58-59); and

(g) The principle that “conservatism be used as a prudent reaction to uncertainty

to try to ensure that uncertainties and risks inherent in business situations arc
adequately considered” was violated. (FASB Statement of Concepts No. 2.

995),

89, The adverse information concealed by defendants during the Class’ Period and
detailed above was in violation of Item 303 of Regulation S-K under the federal securities law
(17 C.F.R. 229.303),

DEFENDANTS’ VIOLATION OF INDUSTRY AND SEC RULES

90. The Society of Petroleum Engineers (“SPE”), an independent professional society,
has determined the classification of reserves. The SPE has established industry standard
guidelines for accounting for reserves. According SPE, these classifications arc a key factor in
determining the value of the reserves, and reserves are classified as either “proved” or

“unproved.”

 

91. According to the SPE, proved reserves:

can be estimated with reasonable certainty to be recoverable under current economic
conditions. Current economic conditions include prices and costs prevailing at the
time of the estimate. Proved reserves may be developed or undeveloped . . . [Proved
reserves] must have facilitics to process and transport those reserves to market that
are operational at the time of the estimate, or there is a commitment or reasonable
expectations to inslall such facilities in the future.

38

 
 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 39 of 45 PagelD: 39

92. With respect to guidance by the SEC, the definition for proved oil and gas
reserves can be found in Rule 4-10(a) of Regulation S-X of the Securities Exchange Act of 1934,
which states:

Proved oil and gas reserves. Proved oil and gas reserves are the estimated quantities

of crude oil, natural gas, and natural gas liquids which geological and engineering

data demonstrate with reasonable certainty to be recoverable in future years from

known reservoirs under existing economic and operating conditions, i.¢., prices and

costs as of the date the estimate is made. Prices include consideration of changes in

existing prices provided only by contractual arrangements, but not on escalations

based upon future conditions. See also FAS 25, Suspension of Certain Accounting

Requirements for Oil and Gas Producing Entities 434 (Feb. 1979).

93. Moreover, the SEC states: “The concept of reasonable certainty implies that, as

_ more technical data becomes available, a positive, ot upward, revision is much more likely than a.
negative, or downward, revision. “ SEC Div. of Corp. Fin: Frequently Requested Accounting and
Fin. Reporting Interpretations and Guidance (“SEC Guidance”) (Mar. 31, 2001).

94. Royal Dutch’s overstatement of its proved reserves by 20% is in clear violation of
the above-refercnced principles. More specifically, Royal Dutch violated both SPE and SEC
rules by including, in its proved reserves figures, the Gorgon Joint Venture in Australia and the
Nigerian Projects in Africa when such projects neither meet industry nor SEC standards for
proved reverses and when its venture partners did not include such amounts in its calculations of

its proved oil and gas reserves.

DEFENDANTS’ BREACH OF FIDUCIARY DUTIES CAUSED THE LOSS

 

95. ‘The Plan, and the Participants acting on behalf of the Plan, relied upon, and are
presumed to have relicd upon, defendants’ misrepresentations and nondisclosures to their

detriment.

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 40 of 45 PagelD: 40

96, As aconsequence of defendants’ misrepresentations and nondisclosures, the Plan
suffered losses.

97. Defendants are personally liable to make good to the Plan any losses to the Plan
resulting from each breach.

98. Each defendant is jointly liable for the acts of the other defendants as a co-
fiduciary.

99, Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should award
equitable relicf,

CLAIM IL

ROYAL DUTCH STOCK WAS AN IMPRUDENT INVESTMENT
| 100. The allegations of all paragraphs set forth above are specifically realleged and
incorporated herein by reference.

101. Defendants failed to shift liability to Participants for imprudent investment
decisions under section 404(c), so defendants remained liable for all imprudent investments in
Royal Dutch stock offered in the Plan.

102. Defendants breached their fiduciary duties as alleged above by allowing the Plan
to purchase and hold Royal Dutch stock during the Class Period, and by allowing the Royal
Dutch stock to remain an investment option under the Plan, because this investment in Royal
Dutch stock was an imprudent investment for Plan whose purpose was to provide for employec
retirement income security.

103. Atall relevant times, defendants were aware or should have been aware of the

publicly disclosed misrepresentations, which knowledge would have led a reasonable investment

40

 

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 41 of 45 PagelD: 41

manager to conclude that an investment in Royal Dutch stock was an imprudent, high risk
investment for the Participants in the Plan, whose purpose was to provide for employee
retirement income security. In particular, defendants should have known that; (a) Royal Dutch
substantially overstated oil and gas reserves and permitted other accounting irregularities arising
out of its joint partnership with Shell Transport and Trading Company, PIC from a project off
the western coast of Australia called the Gorgon Joint Venture, and various projects in Nigena;
(b) Royal Dutch classified and reported, in SEC filings and other public documents, certain
reserves as “proved reserves” when, unbeknownst to Plan Participants, the reserves did not meet
SEC and industry requirements necessary to be classified as “proved,” and were improperly
reported as proved reserves in Royal Dutch’s financial reports, thereby materially artificially
inflating a key measure of the companies’ financial position and competitive standing; and (c}
Royal Dutch was forced to write-down its proved oil and gas reserves by 20%, or 3.9 billion
barrels, from 19.5 billion barrels to 15.6 billion barrels. These facts demonstrate that investment
in Royal Dutch stock was not a prudent investment.

104. Defendants also have known (a) that defendants made the negligent
misrcpresentations directly to Plan Participants as set forth above; (b) thesc facts that were
negligently never disclosed in a timely manner; and (c) that these negligent misrepresentations
and nondisclosures would have a negative cffect on the price of the Royal Dutch stock and
caused the stock to be an imprudent investment.

105. Based on the foregoing, defendants should have terminated the Royal Dutch stock
as an investment option.

106. ‘To the extent that the defendants possessed material adverse nonpublic

4}

 
oooeeeS~ nnn EEE

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 42 of 45 PagelD: 42

information, they should have prevented the Participants from purchasing additional Royal Dutch
stock. They should also have directed the Plan to sell all Royal Dutch stock and disclosed this
nonpublic information prior to any sales by the Plan. Had it done so, the Plan would have

limited their losses substantially, even though the price might have dropped upon disclosure.

DEFENDANTS’ BREACH OF FIDUCIARY DUTY CAUSED THE LOSS

107. Defendants were fiduciaries who breached their fiduciary duties in that they
should have known the facts as alleged above and should have known that the Plan should not
have permitied the investment in Royal Dutch stock.

108, Asaconsequence of the defendants’ breaches, the Participants suffered losses.

109. The defendants are liable to personally make good to the Participant any losses to
the Plan resulting from each breach.

110. Each defendant is jointly liable for the acts of the other defendants as a co-
fiduciary.

111. Pursuant to ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), the Court should award

 

equitable relief to the Class.
PRAYER FOR RELIEF
WHEREFORE, plaintilf prays for:
A. A declaration that the defendants, and each of them, have breached their FRISA
fiduciary duties to the Participants;
B. A declaration that the defendants, and each of them, are not entitled to the protection

of ERISA § 404(c)(1)(B), 29 U.S.C. § 1104(¢)(1 XB);

42

 
rrr

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 43 of 45 PagelD: 43

C. An order compelling the defendants to make good to the Plan all losses to the Plan
resulting from defendants’ breaches of their fiduciary duties, including losses to the Plan resulting
from imprudent investment of the Plan’s assets, and to restore to the Plan’s all profits the defendants
made through use of the Plan’s assets, and to restore to the Plan all profits which the Participants
would have made if the defendants had fulfilled their fiduciary obligations;

D. Imposition a constructive trust on any amounts by which any defendant was unjustly
enriched at the expense of the Plan as the result of breaches of fiduciary duty,

E. Anorder enjoining defendants, and each of them, from any further violations of their
ERISA fiduciary obligations;

EF. Actual damages in the amount of any. losses the Plan suffered, to be allocated among
the Participants’ individual accounts in proportion to the accounts’ losses;

G, An order that Defendants allocate the Plan’s recoveries to the accounts of all
Participants who had any portion of their account balances invested in Royal Dutch stock maintained
by the Plan in proportion to the accounts” losses attributable to the decline in the stock price of Royal
Dutch;

H. An order awarding costs pursuant to 29 T.8.C. § 1132(g);

I. Anordcr awarding attorneys’ fees pursuant to 29 U.S.C. § 1132(g) and the common

 

fund doctrine; and
J. An order for equitable restitution and other appropriate equitable monetary relief

against the defendants.

43

 
 

 

 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 44 of 45 PagelD: 44

JURY TRIAL DEMANDED

Plaintiff hereby demands a trial by jury.

Dated: March 25, 2004

By:

OF COUNSEL:

LITE, DEPALMA, GREENBERG & RIVAS, LLC

frupeD Dllise 16

Joseph J. DePalma, Esq. (7697)
Katrina Blumenkrants (KB-9620)
Two Gateway Center, 12" Floor
Newark, New Jersey 07102
Telephone (973) 623-3000
Facsimile (973) 623-0858

 

WECHSLER HARWOOD LLP
Robert I. Harwood, Esq.

Jeffrey M. Norton, Esq.

488 Madison Avenue, 8th Floor
New York, New York 10022
Telephone: (212) 935-7400
Facsimile: (212) 753-3630

Attorneys for Plaintiffs

LAW OFFICES OF CHARLES J. PIVEN, P.A.

Charles J. Piven, Esq.

401 East Pratt Street, Suite 2525
Baltimore, Maryland 21202
Telephone: (410) 332-0030
Facsimile: (410) 685-1300

44

 
 

Case 2:04-cv-01398-JWB-SDW Document1 Filed 03/25/04 Page 45 of 45 PagelD: 45

CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2
Plaintiff, by his attorneys, hercby certifies that to the best of his knowledge, the matter in
controversy is related to Joscph Cohen, etal, v. N.V. Koninklijke Nederlandsche Petroleum
Maatschappij, filed on January 23, 2004; John Brockamp v. N.V, Koninklijke Nederlandsche
Petroleum Maatschappij, et al., Civil Action No. 04-374 (JWB); Paul Engel v. N.V. Koninklijke

Nederlandsche Petroleum Maatschappij, Civil Action No. 04-430; (WB); George Alala v. NLV.
Koninklijke Nederlandsche Petroleum Maatschapvij a/k/a Royal Dutch Petroleum Company, et

als., Civil Action No.: 04-717 (JWB); Anthon Lazorko v. N,V. Koninklijke Nederlandsche

 

Petroleum Maatschappij a/k/a Royal Dutch Petroleum Company, et als.; Civil Action No,: 04-.
894 (JWB); William Sinnreich v. N y. Koninklijke Nederlandsche Petroleum Maatschappij a/k/a
Royal Dutch Petroleum Company, et als. filed on March 24, 2004; David Noboa v_N.V.
Koninklijke Nederlandsche Petroleum Maatschappi) a/k/a Royal Dutch Petroleum Company, et
als., filed on March 24, 2004.

Plaintiff is not currently aware of any other party who should be joined in this action.

\ hereby certify that the forcgoing statements made by me are truc. I am aware that if any
of the foregoing statements made by me are wilfully false, T am subject to punishment.
Dated: March 25, 2004 LITE DEPALMA GREENBERG & RIVAS, LLC

By: rset 4 4 DPh tn CKB }

Joseph J. DePalma (JD-7697)
Katrina Blumenkrants (KB-9620)
Two Gateway Center, 12" Floor
Newark, New Jerscy 07102

(973) 623-3000

Attorneys for Plaintiff

45

 
